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  UNITED STATES OF AMERICA                           Hon. (CCC)

           v.                                        Crim. No. 24-682

  CHRISTOPHER JAMES SCANLON                          18 u.s.c. § 371
                                                     18 U.S.C. § 1960(b)(l)(B)

                                     INDICTMENT

         The Grand Jury in and for the District of New Jersey, sitting at Newark,

 charges as follows:

                                      BACKGROUND

         1.       At all times relevant to this Indictment:

                            Statutory and Regu�atory Background

         a.       The United States Treasury Department was a United States executive

 agency responsible for promoting economic prosperity and ensuring the financial

 security of the United States.

         b.       The Financial Crimes Enforcement Network ("FinCEN") was a bureau

 of the United States Treasury Department. FinCEN's mission was to safeguard the

 United States financial system from illicit use, combat money laundering, and

 promote national security through the collection, analysis, and dissemination of

 financial intelligence and strategic use of financial authorities. FinCEN carried out

 its mission, in part, by receiving and maintaining financial transaction data, and

 analyzing and disseminating that data for law enforcement purposes.
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